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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MARYLAND

NATIONAL ASSOCIATION OF
DIVERSITY OFFICERS IN HIGHER
EDUCATION, et al.,
        Plaintiffs,
                                                   Case No. 1:25-cv-00333-ABA
   v.

DONALD J. TRUMP, et al.,
        Defendants



                            PRELIMINARY INJUNCTION

        Pursuant to Federal Rule of Civil Procedure 65, and upon consideration of the

Motion for a Temporary Restraining Order and/or Preliminary Injunction filed by

Plaintiffs National Association of Diversity Officers in Higher Education, the American

Association of University Professors, Restaurant Opportunities Centers United, and the

Mayor and City Council of Baltimore, Maryland (ECF No. 27) (the “Motion”),

Defendants’ memorandum in opposition to the Motion (ECF No. 35), Plaintiffs’ reply

brief (ECF No. 39), and the exhibits to those submissions, and having held a hearing on

the Motion on February 19, 2025, and for the reasons set forth in the accompanying

Memorandum Opinion, it is hereby ORDERED as follows:

        1.     The Motion is GRANTED IN PART and DENIED IN PART.

        2.     This Order addresses the following provisions in Exec. Order 14151,

Ending Radical and Wasteful Government DEI Programs and Preferencing, Executive

Order of January 20, 2025, 90 Fed. Reg. 8339 (Jan. 29, 2025) (the “J20 Order”), and

Exec. Order 14173, Ending Illegal Discrimination and Restoring Merit-Based



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Opportunity, Executive Order of January 21, 2025, 90 Fed. Reg. 8633 (Jan. 31, 2025)

(“J21 Order”):

      J20 Order § 2(b)(i) (in part) (the “Termination Provision”):

             Each agency, department, or commission head, in
             consultation with the Attorney General, the Director of OMB,
             and the Director of OPM, as appropriate, shall take the
             following actions within sixty days of this order:

                 (i) terminate, to the maximum extent allowed by law, . . .
                 all . . . “equity-related” grants or contracts[.]

      J21 Order § 3(b)(iv) (the “Certification Provision”):

             The head of each agency shall include in every contract or
             grant award:

                 (A) A term requiring the contractual counterparty or grant
                 recipient to agree that its compliance in all respects with
                 all applicable Federal anti-discrimination laws is material
                 to the government’s payment decisions for purposes of
                 section 3729(b)(4) of title 31, United States Code; and

                 (B) A term requiring such counterparty or recipient to
                 certify that it does not operate any programs promoting
                 DEI that violate any applicable Federal anti-
                 discrimination laws.

      J21 Order § 4(b)(iii) (the “Enforcement Threat Provision”):

             To further inform and advise me so that my Administration
             may formulate appropriate and effective civil-rights policy,
             the Attorney General, within 120 days of this order, in
             consultation with the heads of relevant agencies and in
             coordination with the Director of OMB, shall submit a report
             to the Assistant to the President for Domestic Policy
             containing recommendations for enforcing Federal civil-
             rights laws and taking other appropriate measures to
             encourage the private sector to end illegal discrimination and



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             preferences, including DEI. The report shall contain a
             proposed strategic enforcement plan identifying

                  . . . (iii) A plan of specific steps or measures to deter DEI
                  programs or principles (whether specifically denominated
                  ‘DEI’ or otherwise) that constitute illegal discrimination or
                  preferences. As a part of this plan, each agency shall
                  identify up to nine potential civil compliance
                  investigations of publicly traded corporations, large non-
                  profit corporations or associations, foundations with
                  assets of 500 million dollars or more, State and local bar
                  and medical associations, and institutions of higher
                  education with endowments over 1 billion dollars.

      3.     Defendants other than the President, and other persons who are in active

concert or participation with Defendants (the “Enjoined Parties”), shall not:

             a.      pause, freeze, impede, block, cancel, or terminate any awards,

                     contracts or obligations (“Current Obligations”), or change the

                     terms of any Current Obligation, on the basis of the Termination

                     Provision;

             b.      require any grantee or contractor to make any “certification” or

                     other representation pursuant to the Certification Provision; or

             c.      bring any False Claims Act enforcement action, or other

                     enforcement action, pursuant to the Enforcement Threat Provision,

                     including but not limited to any False Claims Act enforcement

                     action premised on any certification made pursuant to the

                     Certification Provision.


Date: February 21, 2025                                 /s/
                                                  Adam B. Abelson
                                                  United States District Judge


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